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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


UNITED STATES OF AMERICA)
                        )
v.                      )                 1:19-cr-00007-JAW
                        )
DOUGLAS GORDON          )


      DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION IN LIMINE
           THAT EXHIBITS QUALIFY AS ADMISSIBLE RECORDS
                          UNDER RULE 803

       NOW COMES the Defendant, by and through undersigned counsel, and states as

follows:

       At the outset the Defendant agrees that the Government has laid out the proper and

necessary law for the determination of these matters. Some exceptions will be noted as to

specific exhibits. The Defendant applies that law to each of the Government’s listed

exhibits as follows:

       Exhibit 1 – Bancorp Transaction Records

       The Defendant objects to the admission of Bancorp records as tendered by the

Government for the reason that the Government must be able to show some foundational

predicate as to what Bancorp is. Defendant believes the Government intends to present a

Government agent to explain the nature of Bancorp’s business and the meaning of

various entries in the Bancorp records.      The Defendant does not believe that the

Government should be able to do this through a Government agent. The Defendant, in

theory, would not object to these records as authentic business records, but seeks to avoid


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an exercise in which a Government agent steps into the shoes of a Bancorp executive and

testifies as to the nature of Bancorp’s business and the meaning of various entries within

the proffered documents. The Defendant asserts that this approach would be an improper

use of any business records exception. Undersigned counsel has no idea what Bancorp

may be or how it is connected to this case; and even if the Government were to provide

some additional filing with the Court, the Government would be requesting the

acceptance its proffered testimony in lieu of a proper witness with foundational

knowledge.

       Exhibit 2 – Bangor Savings Bank Authorization Resolutions

       The defense agrees that Exhibit 2 is an authentic business record. The Defendant

agrees that these are business records pursuant to the various rules, but reserves all other

potential objections, including but not limited to relevance.

       Exhibit 3 – Bangor Savings Bank Check Deposit Copies

       While the Defendant agrees that a properly defined exhibit of check deposit

records could be a business record, the problem with this specific exhibit is that the

exhibit is ill-defined. It is unclear what the parameters of this exhibit are, what the date

range of documents included is, and whether the records are complete or a selected

portion of records and how, if less than the full range of documents within the request,

the documents included within the exhibit were selected. The Defendant respectfully

suggests that sufficient foundation testimony will be required as to the provenance of this

exhibit that it is simply meaningless to agree that it should be admitted independent of

such foundational testimony.

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       Exhibit 4 – Bangor Savings Bank Summary of Accounts

       The Defendant does not object to the document offered as Government’s Exhibit 4

on authentication issues but does object to the Government proffering a Government

agent to explain what these documents mean. To the extent not raised elsewhere with

other exhibits, the Defendant anticipates that the Government will offer its agents to

explain the meaning of various entries on the exhibit. The Defendant intends to object to

such testimony on foundational grounds even as it agrees that the document is an

authentic business record.

       Exhibit 5 – Bangor Savings Bank Checking Account Withdrawals

The Defendant does not object to the document offered as Government’s Exhibit 4 on

authentication issues but does object to the Government proffering a Government agent

to explain what these documents mean. To the extent not raised elsewhere with other

exhibits, the Defendant anticipates that the Government will offer its agents to explain the

meaning of various entries on the exhibit.

       Exhibit 6 – Better Business Bureau Complaints

       The Defendant objects to the admission of the Better Business Bureau complaints.

These documents are really hearsay complaints from allegedly dissatisfied customers.

For example, page 2 of Government Exhibit 6 (the first substantive page of the exhibit)

presents the complaint of an unnamed customer which appears to have been mailed or e-

mailed and which contains the alleged customer’s verbatim complaint about a purchase

from www.lostmoviesfound.com. While the Defendant appreciates that these records



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might be regularly kept in the course of Better Business Bureau’s business, but the

Government should not be allowed to circumvent the hearsay rules accordingly.

       Rule 803 Fed.R.Evid. 8036 should not apply to subjective statements. As the

Government notes, “under the rule, records kept in the course of regularly conducted

activity are admissible unless the source of information or the method or circumstances

of preparation indicate a lack of trustworthiness.” Memorandum of the Government,

Page 3, citing United States v. Patterson, 644 F.2d 890, 900 (1st Cir. 1981), et al.

Customer complaints, even if recorded as part of BBB’s regular activities are themselves

subjective and not capable of an objective determination of “trustworthiness” absent the

ability to probe the complainant. It does not take expert legal analysis to suggest anyone

can say anything on the Internet. Making such statements a “business record” is not

indicia of reliability.

       The Government cites United States v. Southland, 209 F.Appx. 656, 658 (9th Cir.

2009), and United States v. Chavis, 772 F.2d 100, 105 (5th Cir. 1985) for the proposition

it can make use of the BBB records to show the Defendant was notified of the

complaints. Even assuming the 1st Circuit agreed with this analysis, the records proffered

by the Government are problematic in at least two respects. First, the records contain

verbatim subjective commentary by alleged complainants which are hearsay and offered

for their truth.

       Second, the comments are more prejudicial than probative under Fed.R.Evid. 403.

For example, on page 7 of the proffered exhibit, one customer notes:



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       “This business needs to go out of business due to scam and fraud of customers
       who just wanted to purchase DVDs. This company has apparently done this to
       tons of customers due to the long list of complaints. I have also tried for weeks to
       get in contact via phone and e-mail with no response. All the complaints are the
       same. Your credit card gets charges, but you receive nothing and you can’t get in
       contact with no one. Please put an end to this scam business so innocent people
       stop getting scammed. These people should be ashamed of themselves for taking
       people’s money like thieves. You should be convicted for what you have done.
       Remember he is watching you, every time you scam people he knows you will
       have to answer to him in the end for all your sins. God Bless.” (certain internal
       grammatical quirks not included).

       This particular complaint does not show any notice to the Defendant, which is true

of the exhibit as a whole; some entries contain indicia that the Defendant was noticed

and/or responded, others like the above-referenced complaint do not. In any event, it is

important to note in Chavis that the defendant presented an affirmative defense of “good

faith” or lack of intent. The Defendant in this case has put forward, at least at this time,

no such defense. A review of the Chavis case suggests that the Government presented

the BBB records in rebuttal which further distinguishes it from the case at hand.

       Exhibit 7 – Charter Communications

       The Defendant agrees that the proffered exhibit is an authentic business record but

anticipates objecting to interpretation of the exhibit by a Government agent.

       Exhibit 8 – CitiBank NA Credit Card Statement

       The Defendant objects to this Exhibit 8 as it is redacted, does not seem to pertain

to the Defendant and does not provide to the Defendant any information as to what was

requested or even what is being offered. The name and account number on the document

has been redacted and this deficiency has been previously pointed out to the Government

and has not been corrected.

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       Exhibit 9 – Columbia Broadcasting System Notices of Copyright and

Infringement

       The Defendant objects to Government’s Exhibit 9. Although the certificate dated

February 12, 2019, certifies that the document is a business record, the Defendant notes

that it has been provided with a February 12, 2019, letter from the same person certifying

the record further stating that:

       “Charter’s billing and customer records from which the above information is
       obtained are subject to human error and Charter cannot always guarantee the
       accuracy of such records. You should not rely solely on this information and
       should always independent corroborate the information Charter provides with
       other information you have concerning the identity of the individual.”

       The Defendant asserts that this qualification of the record custodian sufficiently

calls into the question the accuracy of the business record such that it should not be

admitted without further foundational testimony and analysis. The Defendant further

objects to any Government agent testifying as to the meaning of any particular aspect of

the proffered business record.

       Exhibit 10 – Eastern Maine Healthcare Systems Job Application

       Without waiving any other objection, the Defendant concedes that Government’s

Exhibit 10 is a proper business record. The Defendant reserves the rights to object to this

exhibit on all other grounds, including but not limited to, relevance.




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     Exhibit 11 – Google LLC, Subscriber Information, Customer Confirmations,
Messages From and To Customers, Google Alerts
     The Defendant objects to the 35,000 page exhibit. Assuming, arguendo, that the

attached records come from Google, they might properly be authentic business records

within the meaning of the rules suggested by the Government. Having said that, this

exhibit is so problematic that it should not be allowed. First, the Defendant anticipates

that the Government will attempt to use a Government agent to explain the meaning of

various entries within the exhibit.    The Government has not identified, despite the

observation and request of defense counsel, any computer expert or other individual with

knowledge besides a Government agent who could possibly interpret these voluminous

computer records.        To the extent the Government intends to use any aspect of

Government’s Exhibit 11, the Government should be required to specify particular entries

and the particular purpose for which the entry is being offered, what, if any, relevance

there may be to the case; and finally, how the Government intends to present this

testimony to the jury.

       While the Defendant notes that the proffered records contained within Exhibit 11

might qualify as business records, the Defendant anticipates objecting to their relevance.

Contained within the documents are various suggestions that the recipient of various e-

mails never responded to the e-mails, never acknowledged getting the e-mails, and there

is no proof that e-mails were ever received by the intended recipient.




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       Exhibit 12 – Green Dot Bank Cardholder Information

       The defense agrees that Exhibit 12 is an authentic business record. The Defendant

reserves the rights to object to this exhibit on all other grounds, including but not limited

to, relevance.

       Exhibit 13 – Neustar, Inc. Subscriber Information

       This document is problematic on its face. The declarant is a Louis Benevides, an

employee of Neustar who, for reasons unknown, is in “receipt of an administrative

subpoena served on Fairpoint Communications”. The connection between Neustar and

Fairpoint is unclear from the certification. The Defendant does not believe that the

connection between Neustar and Fairpoint is sufficiently clear to allow an apparently

unrelated entity to certify the records of another entity. The Government should not be

allowed to use the business record exception to bless this unholy union.

       Exhibit 14 – PSI Systems

       The Defendant agrees that the PSI Systems records are authentic business records,

although as referenced elsewhere the Defendant reserves all other objections and

specifically objects to the use of a Government agent to interpret the records.

       Exhibit 15 – Square (Weebly) Subscriber Information

       The Defendant does not agree that Government’s Exhibit 15 is an authentic

business record. No certification pursuant to the rule is attached and the document

appears to be a creation of the Government.            The Defendant further objects to a

Government agent testifying as to the meaning of any particular entry in this exhibit.



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       Exhibit 15A - Spreadsheet

       The Defendant does not agree that Government’s Exhibit 15 is an authentic

business record. No certification pursuant to the rule is attached and the document

appears to be a creation of the Government. The Defendant notes that this spreadsheet

does not appear to be part of the original certification and instead appears to be an

analysis by the Government which may or may not be based on data provided by Square,

but which is not part of Square’s certification.

       Exhibit 15B - Spreadsheet

       The Defendant does not agree that Government’s Exhibit 15 is an authentic

business record. No certification pursuant to the rule is attached and the document

appears to be a creation of the Government. The Defendant notes that this spreadsheet

does not appear to be part of the original certification and instead appears to be an

analysis by the Government which may or may not be based on data provided by Square,

but which is not part of Square’s certification.

       Exhibit 15C – Account Dossier

       The Defendant agrees that a portion of Government’s Exhibit 15C is an authentic

business record. The Defendant, however, objects to a Government agent testifying as to

the meaning of any particular entry in this exhibit. The Defendant notes that on this

exhibit there is a document entitled “An Account Dossier” which does not seem to

pertain at all to the case at hand. It seems the Government will attempt to use this portion

of the document to have a Government agent explain to the jury the meaning behind the

last page of the document. This is not a proper use of the business records exception and

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whatever the Government or Court may think of the admissibility and authenticity of the

last page of Exhibit 15C (marked in the documents themselves as Exhibit 16), the

Defendant objects to the propriety of a Government agent interpreting a chart which in

and of itself purports to provide some interpretive value but which in actuality is unclear

and which is not itself a “business record”. Even if it were clear, the Defendant objects to

a Government agent interpreting this document for the jury.

       Exhibit 16 - Square Account and Subscriber Information

       The Defendant agrees that Government’s Exhibit 16 is an authentic business

record. The Defendant, however, objects to a Government agent testifying as to the

meaning of any particular entry in this exhibit.

       Exhibit 17 – Stripe, Inc. Subscriber Information

       The Defendant agrees that Government’s Exhibit 17 is an authentic business

record. The Defendant, however, objects to a Government agent testifying as to the

meaning of any particular entry in this exhibit.

       Exhibit 17A – Stripe, Inc. Spreadsheet

       The Defendant objects to Government’s Exhibit 17A for the reason that it is not

certified properly. To the extent the Government suggests that 17A is certified under the

certification in Exhibit 17, the certification on Exhibit 17 does not contain sufficient

information for the Defendant to determine the connection. The Defendant notes that this

spreadsheet does not appear to be part of the original certification and instead appears to

be an analysis by the Government which may or may not be based on data provided by

Stripe, but which is not part of Stripe’s certification.

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       Exhibit 17B – Stripe, Inc. Spreadsheet

       The Defendant objects to Government’s Exhibit 17B for the reason that it is not

certified properly. To the extent the Government suggests that 17B is certified under the

certification in Exhibit 17, the certification on Exhibit 17 does not contain sufficient

information for the Defendant to determine the connection. The Defendant notes that this

spreadsheet does not appear to be part of the original certification and instead appears to

be an analysis by the Government which may or may not be based on data provided by

Stripe, but which is not part of Stripe’s certification.

       Exhibit 18 – Text Now, Inc. Mobile Cell Phone Service Subscriber

Information

       The Defendant objects that the record does not seem to pertain to the Defendant

and is redacted in such a way that the Defendant cannot determine who the record may

refer to. The Defense is unfamiliar with “Lucas Knight”. The Defense agrees this

exhibit may be an authentic business record but cannot determine its relevance. As

above, the Defendant objects to a Government agent interpreting these records even if the

Court finds that they are, in fact, proper business records.

       Exhibit 19 – United Parcel Service Store Application for Delivery, Mailbox

Agreement and Receipts

       The Defendant agrees that these documents may be business records.              The

Defendant does not agree that a Government agent is the proper witness to ascribe

meaning to the documents contained therein.



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       Exhibit 20 – Yahoo, Inc. Account Management Tool, Messages From and To

Customers

       The Defendant objects to this exhibit. While the exhibit might be a business

record, to the extent the exhibit contains verbatim complaints from other individuals

outside of Yahoo’s organization complaining about the Defendant or persons or entities

associated with the Defendant, the danger is that the jury might take these subjective

complaints as true and that such complaints will be lent an air of authority by their

admission as an exhibit. Making unverified Internet “complaints” a business record does

not thereby translate this lead into evidentiary gold. The Defendant further objects to a

Government agent testifying as to the meaning of the information contained in the Yahoo

exhibit.

       Exhibit 20A – Yahoo, Inc. E-Mail Orders

       The Defendant objects to this exhibit. While the exhibit might be a business

record, to the extent the exhibit contains verbatim complaints from other individuals

outside of Yahoo’s organization complaining about the Defendant or persons or entities

associated with the Defendant, the danger is that the jury might take these subjective

complaints as true and that such complaints will be lent an air of authority by their

admission as an exhibit. The Defendant further objects to a Government agent testifying

as to the meaning of the information contained in the Yahoo exhibit.




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       Exhibit 21 – City of Brewer Property Assessment Record

       The Defendant does not object to the admission of the Government’s Exhibit 21

but does object to a Government agent testifying as to the meaning of any particular

aspect of Exhibit 21.



       Exhibit 22 – CAFRA Seized Asset Claim Form

       The Defendant does not object to the authenticity of this document but does not

waive any other objection.

       Exhibit 23 – Internet Crime Complaint Center Complaints

       The Government suggests that the public records exception applies and that Rule

803 § 8 provides the following is not excluded by the hearsay rule, in relevant part:

       “(8) Public Records. A record or statement of a public office if:

              A.        It sets out:

                        (i) the office’s activities;
                        (ii) a matter observed while under a legal duty to report, but not
                        including, in a criminal case, a matter observed by law enforcement
                        personnel; or
                        (iii) in a civil case where against the government in a criminal case,
                        factual findings from a legally authorized investigation . . .”

       The Government puts forth, among other things, Exhibit 23 and 24 as falling

within the public records exception, except that on their face, they do not. The records

might arguably set out the office’s activities, but do not set out matters which the reporter

had a legal duty to report. The complaints in Government Exhibits 23 and 24 are

optional and discretionary consumer complaints, not matters under which people were


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legally bound to report to the Government, nor were these matters observed by law

enforcement personnel. A law enforcement office merely collated reports by civilian

third persons. The Government’s assertions here must fall for the same reason that the

hearsay exceptions based on indicia of reliability in some circumstances do not make

cranky Internet complaints reliable simply because the Government decides to make

them a “business record”.

       Exhibit 24 – Maine Attorney General Civil Investigative Demand Complaints,

Consumer Data Entry, Letters

       The Government suggests that the public records exception applies and that Rule

803 § 8 provides the following is not excluded by the hearsay rule, in relevant part:

       “(8) Public Records. A record or statement of a public office if:

              A.     It sets out:

                     (i) the office’s activities;
                     (ii) a matter observed while under a legal duty to report, but not
                     including, in a criminal case, a matter observed by law enforcement
                     personnel; or
                     (iii) in a civil case where against the government in a criminal case,
                     factual findings from a legally authorized investigation . . .”

       The Government puts forth, among other things, Exhibit 23 and 24 as falling

within the public records exception, except that on their face, they do not. As the records

arguably set out the office’s activities, but do not set out matters which the reporter had a

legal duty to report. The complaints in Government Exhibits 23 and 24 are optional and

discretionary consumer complaints, not matters under which people were legally bound

to report to the Government, nor were these matters observed by law enforcement


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personnel, rather a law enforcement office merely collated reports by civilian third

persons. The Government’s assertions here must fall for the same reasons as Exhibit 23.

       Exhibit 25 – Maine Maritime Academy Resume and Employee Enrollment

Form

       The Defendant does not object to Government’s Exhibit 25 on grounds of

authenticity. The Defendant anticipates objecting to a Government agent testifying as to

the meaning of any aspect of this exhibit.

       Exhibit 26 – U.S. Postal Service Post Office Box Application

       The Defendant agrees that these documents may be business records.                 The

Defendant does not agree that a Government agent is the proper witness to ascribe

meaning to the documents contained therein.

       Exhibit 27 – U.S. Copyright Office Certificates of Copyright Registration

       The Government attempts to import various rulings of a civil nature into the

criminal context. The Defendant suggests that this is the use of self-authenticating

doctrine as it pertains to certificates of copyright registration are ill-advised as applies to

a criminal case with their vastly different proof standards.

       The Defendant notes that the Government has included within Exhibit 27 a wide

variety of documents.       Without being exhaustive, the Defendant points out that

documents 9893 showing an effective date of registration of 1989, and a date of creation

of 1982, which is outside of the five years referenced by Section 410(a) of Title 17,

United States Code as referenced by the Government on page 13 of its motion. Because



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the certificate of registration was not issued within five years of the date of creation, it

should not be considered prima facia evidence pursuant to that statute.

       Another type of documentation consists of e-mails between Agent Loren Thresher

and something called the ILS System which is not a certification, but rather simply e-mail

communication of a hearsay nature from an agent to a source. Other types of documents

may be contained within this exhibit which would be inappropriate and confusing to label

broadly as certificates of copyright registration.

       The Government should be required to mark these exhibits individually so as to

avoid confusion and a mixing of analysis required as to admissibility. For example, the

Defendant would not be in a position to object on authentication grounds to the document

contained at page 00009893 because this is quite clearly a certificate of copyright

registration made within five years of a date. Given the mixture of documents in this

exhibit, the Defense must simply object to the whole exhibit.

       Exhibit 28 – U.S. Copyright Office Certificate of Non-Existence

       The Defendant does not object to the authenticity of this document but reserves all

other objections.

                                      CONCULSION

       While the Defendant agrees the Government’s responsibility to proffer certain

business records as a general rule, and the Defendant has sought to make reasonable

accommodations to the Government on various exhibits noted above, the Defendant’s

primary concern is that the Government will seek to leverage the Court’s ruling on the



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authenticity of any particular records as meaning that a case agent can testify as the

meaning of any particular record.



DATED:        June 26, 2019                      s/Stephen C. Smith
                                                 Stephen C. Smith Bar No. 8720
                                                 Attorney for Defendant
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                                                 207-622-3711
                                                 ssmith@lipmankatz.com


                              CERTIFICATE OF SERVICE

       I, Stephen C. Smith, hereby certify that the foregoing Defendant’s Response to

Government’s Motion in Limine that Exhibits Qualify as Admissible Records under Rule

803 has been electronically sent to AUSA James M. Moore for the Office of the United

States District Attorney on this 26th day of June, 2019.

       James M. Moore, AUSA
       jim.moore@usdoj.gov

DATED: June 26, 2019                             s/Stephen C. Smith
                                                 Stephen C. Smith Bar No. 8720
                                                 Attorney for Defendant
                                                 LIPMAN & KATZ




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